                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

      V.                                            3:22-CR-303
                                                    (JUDGE MARIANI}
JEFFREY VAUGHAN ,

                     Defendant

                                          ORDER

      AND NOW, THIS 11TH DAY OF JANUARY, 2023, upon consideration of

Defendant's Motion for Continuance of Arraignment and Plea (Doc. 6), IT IS HEREBY

ORDERED THAT:

      1. Defendant's Motion (Doc. 6) is GRANTED.

      2. The Arraignment and Change of Plea hearing for Defendant Jeffrey Vaughan,

           scheduled to be held on January 12, 2023, is RESCHEDULED and shall be held

           on Friday, January 20, 2023, at 11 :00 a.m. in the William J. Nealon Federal

           Building, Scranton, Pa., in a courtroom to be designated by the Clerk of Court.




                                              Robert D. Maria ·
                                              United States District Judge
